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 2   JOHN A. YANCHUNIS (pro hac vice)         Clayeo C. Arnold, SBN 65070
     jyanchunis@forthepeople.com              carnold@justice4you.com
 3   RYAN J. McGEE (pro hac vice)             Joshua H. Watson, SBN 238058
 4   rmcgee@forthepeople.com                  jwatson@justice4you.com
     MORGAN & MORGAN                          CLAYEO C. ARNOLD
 5   COMPLEX LITIGATION GROUP                 A PROFESSIONAL LAW
     201 N. Franklin Street, 7th Floor        CORPORATION
 6   Tampa, Florida 33602                     865 Howe Avenue
     Telephone: (813) 223-5505                Sacramento, California 95825
 7   Facsimile: (813) 223-5402                Telephone: (916) 777-7777
 8                                            Facsimile: (916) 924-1829

 9

10   FRANKLIN D. AZAR (pro hac vice)
     azarf@fdazar.com
11
     MARGEAUX R. AZAR (pro hac vice)
12   azarm@fdazar.com
     FRANKLIN D. AZAR & ASSOCIATES, P.C.
13   14426 East Evans Avenue
     Aurora, Colorado 80014
14   Telephone:    (303) 757-3300
     Facsimile:    (720) 213-5131
15

16   Appointed Class Counsel

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18
                           UNITED STATES DISTRICT COURT
19
                        NORTHERN DISTRICT OF CALIFORNIA
20
                                 SAN JOSE DIVISION
21
   IN RE GOOGLE PLUS PROFILE             )   No. 5:18-CV-06164 (VKD)
22 LITIGATION                            )
                                             PLAINTIFFS’ NOTICE OF PLAINTIFFS’
                                         )
                                             MOTION FOR FINAL APPROVAL OF
23                                       )   CLASS ACTION SETTLEMENT
                                         )
24                                       )   Date:      November 19, 2020
                                         )   Time:      9:00 A.M.
25                                           Courtroom: 4
                                         )
                                         )   Judge:     Hon. Edward J. Davila
26
                                         )
27                                       )
28
       Case 5:18-cv-06164-EJD Document 95 Filed 10/15/20 Page 2 of 4




 1          PLEASE TAKE NOTICE THAT on November 19, 2020, at 9:00 A.M., or on a later date

 2 selected by the Court, Plaintiffs will and hereby do respectfully move the Court, in the courtroom

 3 of the Honorable Edward J. Davila, Courtroom 4, on the 5th Floor of the United States District

 4 Court for the Northern District of California, located at 280 South 1st Street, San Jose, California

 5 95113, for an order finally approving the Settlement.

 6          This Motion is based on the notice of the Motion, Plaintiffs’ Motion for Final Approval of

 7 Settlement, the contemporaneously filed Memorandum of Points and Authorities, the attached

 8 declarations and exhibits, the arguments of counsel, the Motion for Preliminary Approval, and any

 9 other matters in the record or that properly come before the Court.

10          Plaintiffs respectfully request that the Court grant Plaintiffs’ Motion for Final Approval of

11 Settlement, and that the Court enter an Order that:

12          (1) Finally approves the Settlement Agreement and Release as fair, reasonable, and

13             adequate under Rule 23(e);

14          (2) Finally certifies the following Settlement Class under Fed. R. Civ. P. 23(b)(2) and

15             (b)(3):

16          (3) Finally appoints as representatives of the Class: Mat Matik, Zak Harris, Charles Olson,

17             and Eileen M. Pinkowski;

18          (4) Finally appoints as Class Counsel: John A. Yanchunis and Ryan J. McGee of the law

19             firm of Morgan & Morgan Complex Litigation Group; Clayeo C. Arnold and Joshua

20             H. Watson of the law firm of Clayeo C. Arnold Professional Law Corporation; and

21             Franklin D. Azar and Margeaux R. Azar of the law firm Franklin D. Azar & Associates,

22             P.C.;

23          (5) Finds the Notice plan as implemented satisfied Rule 23 and due process;

24          (6) Finally appoints Angeion Group as the Settlement Administrator; and

25          (7) Grants further relief as the Court deems just and proper.

26          Undersigned counsel further represents that this Notice, Plaintiffs’ Motion for Final
27 Approval of Settlement, the contemporaneously filed Memorandum of Points and Authorities, and

28 the attached declarations and exhibits will be provided to the Claims Administrator and posted to
     MOTION FOR FINAL APPROVAL OF CLASS ACTION SETTLEMENT
     CASE NO: 5:18-CV-06164-EJD                                                                       -1-
      Case 5:18-cv-06164-EJD Document 95 Filed 10/15/20 Page 3 of 4




 1 the Settlement Website for review by the Class.

 2 Dated: October 15, 2020                           /s/ John A. Yanchunis

 3                                                    JOHN A. YANCHUNIS (pro hac vice)
                                                      jyanchunis@forthepeople.com
 4                                                    RYAN J. McGEE (pro hac vice)
                                                      rmcgee@forthepeople.com
 5
                                                      MORGAN & MORGAN
 6                                                    COMPLEX LITIGATION GROUP
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     MOTION FOR FINAL APPROVAL OF CLASS ACTION SETTLEMENT
     CASE NO: 5:18-CV-06164-EJD                                                           -2-
      Case 5:18-cv-06164-EJD Document 95 Filed 10/15/20 Page 4 of 4




 1                                  CERTIFICATE OF SERVICE

 2         I hereby certify that on October 15, 2020, I authorized the electronic filing of the foregoing
 3 with the Clerk of the Court using the CM/ECF system which will send notification of such filing

 4 to the e-mail addresses denoted on the attached Electronic Mail Notice List.

 5         Executed on October 15, 2020.
 6                                                     /s/ John A. Yanchunis
                                                       John A. Yanchunis
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     MOTION FOR FINAL APPROVAL OF CLASS ACTION SETTLEMENT
     CASE NO: 5:18-CV-06164-EJD                                                                       -3-
